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                                 UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, et al.,

                         Plaintiffs,              Civil Action No. 1:23-cv-10511-WGY

 v.

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                         Defendants.


                    NOTICE OF WITHDRAWAL OF APPEARANCE

TO THE HONORABLE CLERK OF THE COURT:


            Please withdraw the appearance of Bryan S. Sanchez in the proceeding captioned

above. The Plaintiff State of New Jersey will continue to be represented by Deputy Attorney

General Ana Atta-Alla as counsel of record.




 Dated: October 24, 2023                      Respectfully submitted,

                                              FOR THE STATE OF NEW JERSEY:

                                              MATTHEW J. PLATKIN
                                              ATTORNEY GENERAL OF NEW JERSEY

                                       By:    /s/ Bryan S. Sanchez
                                              Bryan S. Sanchez
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                                CERTIFICATE OF SERVICE
       I, Bryan S. Sanchez, hereby certify that on October 24, 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which shall send notice to all
counsel of record and I will submit paper copies to those indicated as non-registered participants.
The document is available for viewing and downloading from the ECF system.


                                                                   By:    /s/ Bryan S. Sanchez
                                                                          Bryan S. Sanchez
